                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )    Case No. 1:19-cv-00247-MR-WCM
             Plaintiff,                              )
                                                     )
             v.                                      )
                                                     )
 CHARLES DOUGLAS CLARK,                              )
 KAREN CLARK, and                                    )
 N.C. DEPT. OF REVENUE,                              )
                                                     )
             Defendants.                             )
                                                     )


                                      CONSENT JUDGMENT

       Upon the consent and agreement of the parties, it is hereby ORDERED, ADJUDGED,

and DECREED as follows:

       1.         The Parties’ Joint Motion for Entry of Consent Judgment [Doc. 17] is
                  GRANTED;
       2.         Judgment is entered in favor of the United States against Charles Douglas Clark

and Karen Clark for their income tax liabilities for tax years 2005 and 2006 in the amount of

$320,000;

       3.         The United States holds valid and subsisting tax liens with respect to these unpaid

income tax liabilities for tax years 2005 and 2006, which encumber all property and rights to

property of the Defendants Charles Douglas Clark and Karen Clark, including, but not limited to,

the following real properties:

            a. Property PIN 8664-26-4393, located at 759 Mountain Glen Road, Canton, North

                  Carolina;

            b. Property PIN 8664-45-6892, located at 289 Mountain Glen Road, Canton, North

                  Carolina;

      Case 1:19-cv-00247-MR-WCM Document 18 Filed 10/02/20 Page 1 of 3
            c. Property PIN 8664-36-2804, located at Mountain Glen Road, Canton, North

               Carolina;

            d. Property PIN 8664-17-3344, located at Mountain Glen Road/Bronco Trail,

               Canton, North Carolina; and

            e. Property PIN 8664-45-4351, located at Harley Creek Road, Canton, North

               Carolina;

       4.      Defendant North Carolina Department of Revenue holds valid and subsisting tax

liens with respect to unpaid North Carolina income tax liabilities for tax years 2005, 2012, and

2013, which encumber all property and rights to property of Defendants Charles Douglas Clark

and Karen Clark, including, but not limited to, the following real properties:

            a. Property PIN 8664-26-4393, located at 759 Mountain Glen Road, Canton, North

               Carolina;

            b. Property PIN 8664-45-6892, located at 289 Mountain Glen Road, Canton, North

               Carolina;

            c. Property PIN 8664-36-2804, located at Mountain Glen Road, Canton, North

               Carolina;

            d. Property PIN 8664-17-3344, located at Mountain Glen Road/Bronco Trail,

               Canton, North Carolina; and

            e. Property PIN 8664-45-4351, located at Harley Creek Road, Canton, North

               Carolina;

       5.      Subject to the provisions of the mediated settlement agreement executed by the

parties, the tax liens held by the United States, as described above in Paragraph 3, are superior in




                                                 2

      Case 1:19-cv-00247-MR-WCM Document 18 Filed 10/02/20 Page 2 of 3
priority to the tax liens held by Defendant North Carolina Department of Revenue, as described

above in Paragraph 4; and

       6.     All parties shall bear their own costs and attorneys’ fees.


      IT IS SO ORDERED.
                             Signed: October 1, 2020




                                                 3

      Case 1:19-cv-00247-MR-WCM Document 18 Filed 10/02/20 Page 3 of 3
